      Case 1:21-cv-00195-DMT-CRH Document 66 Filed 08/31/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                                 WESTERN DIVISION

____________________________________
                                     )
Christian Employers Alliance,        )
                                     )
                     Plaintiff,      )
                                     )
               v.                    )                        Case No. 1:21-cv-195-MDT-CRH
                                     )
United States Equal Employment       )
Opportunity Commission, et al..      )
                                     )
                     Defendants.     )
____________________________________ )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s order of August 1, 2023 (ECF No. 65), the parties submit this

joint status report regarding the progress of the parties’ settlement negotiations.

       Plaintiff’s counsel and Defendants’ counsel engaged in a telephone conversation

concerning settlement negotiations on August 3, 2023. Plaintiff’s counsel communicated a

written settlement proposal to Defendants’ counsel on August 4, 2023. Defendants are currently

considering this proposal. The parties propose that the Court direct the parties to file another

joint status report outlining the progress of their settlement negotiations within (30) days.
     Case 1:21-cv-00195-DMT-CRH Document 66 Filed 08/31/23 Page 2 of 2




Dated: August 31, 2023                   Respectfully submitted,

                                         BRIAN M. BOYNTON
                                         Principal Deputy Assistant Attorney General

                                         MICHELLE R. BENNETT
                                         Assistant Branch Director

                                         /s/ Jeremy S.B. Newman
                                         Jeremy S.B. Newman
                                         Trial Attorney
                                         United States Department of Justice
                                         Civil Division, Federal Programs Branch
                                         1100 L Street, NW
                                         Washington, DC 20005
                                         Tel: (202) 532-3114
                                         Email: jeremy.s.newman@usdoj.gov

                                         Counsel for Defendants

                                         /s/ Matthew S. Bowman_________
                                         Matthew S. Bowman
                                         DC Bar No. 993261
                                         Alliance Defending Freedom
                                         440 First Street, NW, Ste. 600
                                         Washington, DC 20001
                                         Tel: (202) 393-8690
                                         Fax: (202) 347-3622
                                         mbowman@ADFlegal.org

                                         Julie Marie Blake
                                         MO Bar No. 69643
                                         Jacob E. Reed
                                         OH Bar No. 99020
                                         Alliance Defending Freedom
                                         44180 Riverside Parkway
                                         Lansdowne, VA 20176
                                         Tel: (571) 707-4655
                                         Fax: (571) 707-4656
                                         jblake@ADFlegal.org
                                         jreed@ADFlegal.org

                                         Counsel for Plaintiff

                                     2
